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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

PROGENY,                                    )
a program of Destination Innovations Inc.,  )
CHRISTOPHER COOPER,                         )
ELBERT COSTELLO,                            )
MARTEL COSTELLO, and                        )
JEREMY LEVY, JR.,                           )
on behalf of themselves                     )
and others similarly situated,              )
                                            )                 COMPLAINT – CLASS ACTION
        Plaintiffs,                         )
                                            )
v.                                          )                 Case No. ______
                                            )
CITY OF WICHITA, KANSAS,                    )
CHIEF GORDON RAMSAY, in his                 )
official capacity as Chief of the Wichita   )                 PLACE OF TRIAL REQUESTED:
Police Department, and                      )                 WICHITA, KANSAS
LIEUTENANT CHAD BEARD, in his               )
official capacity as Supervisor of the Gang )
Unit of the Wichita Police Department,      )
                                            )
        Defendants.                         )

                                          COMPLAINT

       Organizational Plaintiff Progeny Kansas and Plaintiffs Christopher Cooper, Elbert

Costello, Martel Costello, and Jeremy Levy, Jr. (collectively “Plaintiffs”), individually and on

behalf of a class of similarly situated individuals, by and through their undersigned attorneys, bring

this action against the City of Wichita, Kansas, Chief Gordon Ramsay, in his official capacity as

Chief of the Wichita Police Department (the “WPD”), and Lieutenant Chad Beard, in his official

capacity as Supervisor of the Gang Unit of the WPD (collectively “Defendants”), and allege as

follows:
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                                     PRELIMINARY STATEMENT

        1.       This is an action under the U.S. Constitution and 42 U.S.C. § 1983 challenging the

constitutionality of K.S.A. 21-6313, et seq., and the City of Wichita’s maintenance and use,

through its police department, of a discriminatory, erroneous, harmful, and unconstitutional Gang

List to unlawfully track, surveil, prosecute, and punish large swaths of the Wichita community

under the guise of public safety.

        2.       The WPD’s 1 practices and policies surrounding its Gang List disproportionately

target and harm individuals and communities of color and violate the First, Fourth, and Fourteenth

Amendments to the United States Constitution.

        3.       The WPD maintains the Gang List pursuant to K.S.A. 21-6313 and WPD Policy

527, a true and correct copy of which is incorporated as Exhibit A.

        4.       Police officers within the WPD’s Gang Unit routinely exercise unilateral and

virtually unchecked power to designate individual Wichita residents as “gang members” or “gang

associates” based on scant and unreliable evidence, or, indeed, no evidence at all. K.S.A. 21-6313

and WPD Policy 527 do not require that a person be convicted of a crime, charged with a crime,

or even suspected of being involved in criminal activity in order to be designated as a gang member

or gang associate. The WPD continuously tracks the individuals it designates as gang members or

associates, and even tracks constitutionally protected activity.

        5.       Adult individuals placed on the Gang List are provided no notice of their inclusion

on the list, or what prompted that inclusion, nor do they have the opportunity to challenge such

designation either under the terms of the statute or as it is applied in practice. Because there are no



1
 The City of Wichita acts, with respect to its use and maintenance of the Gang List, through its governmental sub-
unit the WPD, and the WPD’s divisions and units; thus, Plaintiffs’ references to the WPD or its Gang Unit
encompass allegations against the City.

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provisions within the WPD policies to remove anyone from the Gang List, those listed remain

branded as gang members or associates for life, even if they never come into contact with the

criminal justice system.

        6.       Inclusion on the Gang List subjects an individual to a wide range of severe civil

and criminal consequences, including enhanced bail and probation and parole terms, limited plea

opportunities, extreme prejudice at criminal trials, widespread reputational harm, denial of

associative and assembly rights, and discrimination in housing, licensing, and employment.

        7.       The Gang List is discriminatory in that it targets primarily Black and Brown

individuals: the overwhelming majority of those listed are Black or Latinx, despite those groups

representing only a small minority of the greater Wichita community. The racial disparities in the

makeup of the Gang List, and the geographic concentration of those listed, demonstrate that the

WPD is explicitly targeting minority communities for its gang enforcement work, in violation of

the Fourteenth Amendment. For instance, Black residents make up only 10.9% of Wichita’s

population, but comprise 60% of Wichita’s Gang List. Latinx individuals account for only 17.2%

of Wichita’s population, but make up 25% of the Gang List. In contrast, White residents make up

62.8% of Wichita’s population, but account for only 6% of the Gang List. 2

        8.       Upon information and belief, WPD officers include on the Gang List a small

number of certain “biker groups” and “white supremacists” comprised mainly of white individuals,

but do not make the same efforts to surveil those individuals, nor to categorize the individuals they

associate with as gang members or gang associates. While all of those listed on the Gang List are




2
  See U.S. Census Bureau, QuickFacts: Wichita city, Kansas, https://www.census.gov/quickfacts/wichitacitykansas
(accessed Apr. 5, 2021); Gregg W. Etter Sr. & Warren G. Swymeler, Examining the Demographics of Street Gangs
in Wichita, Kansas, 16 Journal of Gang Research, at 7-8 (2008).

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harmed by the lack of procedural and substantive due process, the statute and the WPD policies

are used to disproportionately target racial minorities.

       9.      These staggering racial disparities are the product of unconstitutionally vague and

procedurally deficient policies codified in K.S.A. 21-6313 and implemented in WPD Policy 527.

       10.     K.S.A. 21-6313 is unconstitutionally vague. K.S.A. 21-6313 sets out ten criteria for

law enforcement to consider when determining whether an individual may be designated as a street

gang member or associate under Kansas law. A person need only meet three of these ten criteria

to be considered a criminal street gang “member” under the statute. K.S.A. 21-6313(b)(2). Even

worse, a person need only fulfill two of the ten criteria to qualify as a criminal street gang

“associate” under the statute. K.S.A. 21-6313(d)(2). There is no meaningful distinction between

the label of member or associate—the consequences that flow from either designation are the same.

The criteria to qualify as a gang member or associate are vague and broad, and encompass a wide

range of innocuous, innocent, and constitutionally protected behavior. The criteria include:

                  Frequenting a particular criminal street gang’s area
                  Wearing a criminal street gang’s color
                  Associating with criminal street gang members
                  Being identified as a criminal street gang member by a law enforcement officer
                  Being identified as a criminal street gang member by “photographs or other
                   documentation” and
                  Being identified as a criminal street gang member by any informant “of
                   previously untested reliability” where “such identification is corroborated by
                   independent information.”

       11.     The WPD’s Policy 527 is a direct result of the unchecked and far-reaching authority

that K.S.A. 21-6313 grants to Kansas police departments. Under Policy 527, an individual may be

nominated as a gang member or associate by any state, county, or city law enforcement or

correctional officer and “will be added to the Gang List if they meet the criteria defined in K.S.A.




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21-6313.” The statute provides no opportunity to challenge that nomination, no due process, and

no process for removal from a Gang List.

       12.     K.S.A. 21-6313 does not define or limit what a police department can define as a

gang’s “area” or “color,” contains no parameters or exceptions regarding associating with gang

members (e.g., for family, co-workers, classmates, etc.), and does not establish any standards or

grounds for identification of gang members by law enforcement or others, or for corroborating

such identification.

       13.     Under the statute, a person may be designated as a gang member or associate based

on tenuous connections or even a single contact with others so designated. A person may engage

in behaviors or contacts meeting these criteria without knowing or having any way to avoid such

conduct. The criteria of K.S.A. 21-6313 and Policy 527 are so vague and expansive that the

majority of Wichita citizens, including most judges, lawyers, clergy, union members, and other

professional and social service providers, could be discretionally designated as a gang member or

associate and added to the Gang List. Indeed, under the statute and policy, most WPD officers

themselves qualify as gang members. The criteria could encompass entire schools, neighborhoods,

and communities where the WPD claim gang presence, thereby implicating anyone who lives or

learns there. Both the statute and policy are also written in such a way that anyone in Wichita

wearing a gang “color”—such as red (Bloods), orange (Hoover Criminals), yellow (Latin Kings),

green (Trinitarios), blue (Crips), or purple (Los Solidos)—also meets half the criteria for being a

gang associate. Thus, for a child attending a school in a “gang area,” going to class in any one of

these colors permits a Wichita police officer to add that child to the Gang List without ever

speaking to the child.




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       14.     K.S.A. 21-6313 also offers police offices a single-criterion, fast-track loophole to

add an individual to the Gang List if that individual has “self-identified” as a gang member or

associate. K.S.A. 21-6313(b)(1); K.S.A. 21-6313(d)(1). There is no requirement to corroborate

such self-identification. Thus, K.S.A. 21-6313 effectively vests plenary authority to designate and

brand “gang members” under Kansas law in the hands of individual police officers and

departments like the WPD.

       15.     Once the WPD adds an individual to the Gang List, that individual is automatically

subject to enhanced monitoring and surveillance by Wichita police officers. Policy 527 prescribes

frequent records checks to identify Gang List designees and instructs certain members of the

Department’s Records Bureau to “notify officers by use of Signal 33 [radio message consisting of

the number 33] if a records check reveals an individual is listed in the Wichita Police Department

computer as a gang member or associate.”

       16.     Upon information and belief, a Signal 33 is communicated directly to an officer in

the field who calls in identifying information such as a license plate number or a driver’s license,

and is understood to mean that the individual so identified is a gang member.

       17.     The information obtained through such Signal 33 notifications can then be used by

officers during the course of a traffic or street stop, even if the person stopped is unaware that they

are on the Gang List. On information and belief, this results in officers approaching stopped

individuals identified through Signal 33 notifications in potentially more combative or escalating

manners, including with weapons drawn.

       18.     Once a WPD officer adds a person to the Gang List, Wichita police officers are not

just encouraged, but procedurally required, to intermittently monitor multiple facets of that

person’s daily life, including reviewing their social media accounts and running a “Google Search”



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on the individual. Upon information and belief, this procedural obligation is consistently carried

out on persons of color on the Gang List, but not nearly to the same extent on white gang members

and associates.

       19.        Further, Wichita police officers routinely target people currently on the Gang List,

or those whom the Police Department would like to add to the Gang List, for traffic enforcement.

Individuals on the list report that WPD officers repeatedly watch, stop, search, harass, and

intimidate them for engaging in noncriminal, innocent conduct.

       20.        Neither K.S.A. 21-6313 nor WPD Policy 527 establishes any procedure for

providing listed persons with notice or an opportunity to contest their designation on the Gang List

as either a gang member or associate. On the contrary, Policy 527 states that the Gang List is

“confidential” and “will only be released to commissioned law enforcement/correctional officers”

or those authorized by certain Department leaders.

       21.        In only one circumstance does Policy 527 outline some sort of notice. This occurs

when a juvenile meets the gang member or associate criteria under K.S.A. 21-6313. In this case, a

Department supervisor “will attempt to contact the parent and/or guardian of the juvenile,” who

“will be told how the juvenile met the gang criteria and will be informed of intervention options

and resources.” However, Policy 527 requires only that there be an “attempt” made to contact the

parent or guardian, with no explanation of how extensive the “attempt” should be.

       22.        Meanwhile, for adults, neither Policy 527 nor K.S.A. 21-6313 provides any notice

to those designated as gang members or associates.

       23.        As a general matter, most individuals never know they are included in Wichita’s

Gang List until it negatively affects them. Often, the first time a person becomes aware they are

on the Gang List occurs during a bond hearing or arraignment following his or her arrest when



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inclusion on the Gang List is listed on the probable cause affidavit, a point at which it is too late

to challenge his or her inclusion on the list before suffering harm. For both juveniles and adults

who know they are on the Gang List, there is no procedure to challenge the designation and demand

removal from the List.

       24.     As a result of the surveillance and harassment that comes with being placed on the

Gang List, many individuals find it difficult to obtain or maintain jobs, access housing, or

participate in various aspects of daily life. Members of the Wichita community have been afraid

to leave their homes, interact with friends, or be around loved ones for fear of either being harassed

by the WPD or placed or reinstated as active on the Gang List.

       25.     When an individual is arrested on a person felony, the arresting officer is instructed

to search the Gang List records for the arrestee’s name and to document the arrestee’s gang

member or associate status in an arrest affidavit. If the individual is listed on the Gang List and

arrested for a person felony, K.S.A 21-6316 mandates that judges set a cash or surety bail at a

minimum of $50,000, regardless of the severity of the charge or the bond that would otherwise be

appropriate. The only exception to this $50,000 minimum is if the reviewing court determines the

defendant is not likely to re-offend and the defendant agrees to submit to an “intensive pre-trial

supervision program.” In such a case, designated WPD officers are then instructed to “monitor

documented gang members and associates for any violations of their probation/parole, bond, and

pretrial restrictions and will immediately report this to the proper supervising authorities with the

intent of removing the offender from the community.”

       26.     Once designated as a criminal street gang member or associate, an individual

remains “active” on the Gang List for a minimum of three years. If at any time during those three

years, the WPD document an individual engaging in a single criterion of K.S.A. 21-6313, the



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three-year period will start over. For instance, if a police officer observes a person on the Gang

List wearing a particular “gang color,” the police officer could extend the three-year period from

the date of that observation. Likewise, if the person has a documented “gang tattoo,” then a police

officer could extend his or her three-year period if that person fails to conceal his or her tattoo,

regardless of any actual ongoing gang affiliation.

       27.     If an individual somehow manages to go three years without meeting any of the

K.S.A. 21-6313’s broad, vague criteria, that individual’s Gang List status is changed to

“INACTIVE”—but they are not removed from the Gang List. Indeed, Policy 527 provides no

procedure for any individual to ever be removed from the Gang List. The WPD agrees that there

is no process by which an individual’s name is ever actually “removed” from the Gang List.

       28.     The result of the facial deficiencies and discretionary nature of K.S.A. 21-6313 and

Policy 527 is that Wichita Police place a large number of people, disproportionately people of

color, on the Gang List each year without notice, without recourse, and in the absence of confirmed

connections between those individuals and criminal street gangs. Most of these individuals who

are added to the Gang List have not been accused of, or charged with, criminal activity connected

to a gang.

       29.     The result of this careless and unconstitutional designation, guided by an

unconstitutionally vague and discretionary statute, is severe, ongoing, and lifelong harm to

individuals included on the Gang List in violation of their constitutional rights.

                                 JURISDICTION AND VENUE

       30.     This Court has subject matter jurisdiction over Plaintiffs’ claims pursuant to 28

U.S.C. § 1331 because Plaintiffs seek a remedy under 42 U.S.C. § 1983. Pursuant to 28 U.S.C. §§




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2201 and 2202, this Court has jurisdiction to declare the rights of the parties, to grant injunctive

relief, and to grant all further relief deemed necessary and proper.

          31.      Venue in this Court is proper pursuant to 28 U.S.C. § 1391.

                                                 PARTIES

          32.      Organizational Plaintiff Progeny, a nonprofit organization in Wichita, Kansas,

operates as a youth/adult partnership focused on reimagining the juvenile justice system and

reinvesting in community-based alternatives. 3 Progeny is run by a small executive staff and a team

of Youth Leaders who help guide, shape, and execute the vision and mission of the organization.

Progeny is an affiliate of Destination Innovations, Inc., a 501(c)(3) organization.

          33.      Progeny’s goals are to prevent incarceration of young people, to break the school-

to-prison pipeline, and to direct state funds into community-based programs that provide

alternatives to incarceration.

          34.      To fulfill its mission, Progeny hosts town halls, educates and works with members

of the Kansas government, provides feedback to local and state leaders regarding their policy

priorities, and organizes youth and community leaders around reform. Progeny also creates and

publishes reports and other documents that translate youths’ insights and needs into calls for

government action.

          35.      Progeny seeks to empower young people who have come into contact with the

criminal justice system and provide these young people with counseling and support. Most of the

youth leaders for Progeny started out as young people who came up through its programs.

          36.      The WPD’s Gang List is completely contrary to Progeny’s mission and programs

and directly impacts Progeny’s staff and youth leaders. Members of Progeny are on the Gang List,



3
    Progeny, Who We Are, https://www.progenyks.com/about-us.

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and the existence of the Gang List makes it more difficult for Progeny to fulfill its mission and

help Wichita youth who are involved in the justice system. Moreover, Progeny has had to divert

resources away from its other work to provide assistance and resources to those who are suffering

from the consequences of being on the WPD’s Gang List.

        37.     Plaintiff Christopher Cooper is a 26-year-old Black man residing in Wichita. He is

currently listed as an “active” gang member in the WPD Gang List. He has been on the Gang List

since at least 2015, when he was 18 years old. Mr. Cooper has suffered continuous harassment by

Defendants, who routinely stop him for minor traffic violations. Upon information and belief, Mr.

Cooper has been denied employment of his choice because of Defendants’ sharing of the Gang

List with other entities. Mr. Cooper brings this action on behalf of himself and a class of similarly

situated individuals who are subjected to Defendants’ unconstitutional actions connected to the

Gang List, and seeks injunctive and declaratory relief.

        38.     Plaintiff Elbert Costello is a 45-year-old Black man residing in Wichita, Kansas.

He is currently listed as an “active” gang member on the WPD Gang List. He has been on the Gang

List since at least 1997, when he was 22 years old. Mr. Costello has been continuously marked as

“active” on the Gang List because he gathers with friends his age, who are also on the Gang List.

He fears harassment or, worse, additional punishment, if he gets together with others—including

family members—for a beer, a barbecue, a family dinner, or a funeral. Mr. Costello brings this

action on behalf of himself and a class of similarly situated individuals who are subjected to

Defendants’ unconstitutional actions connected to the Gang List and seeks injunctive and

declaratory relief.

        39.     Plaintiff Martel Costello is a 25-year-old Black man from Wichita. Mr. Martel

Costello is incarcerated until 2025, currently in the Ellsworth Correctional Facility, because of a



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probation violation. Mr. Martel Costello was convicted of a marijuana offense and possession of

firearms. He learned he was on the Gang List for the first time when he was charged with these

crimes. He was released pre-trial and eventually sentenced to probation. While on probation, Mr.

Martel Costello was forced to abide by certain special conditions of probation, due to his

designation as a gang member on WPD’s Gang List. These conditions included not having any

contact with any other known gang members, abiding by a strict curfew, and more. Mr. Martel

Costello was repeatedly harassed by WPD while awaiting trial and while on probation, returned to

jail on several occasions due to alleged probation violations. Most notably, he was punished on

two occasions for attending the funeral of a loved one—first, his niece’s funeral and later, his

brother’s funeral—because other people listed on the WPD’s Gang List were also present. He was

considered an active gang member on the WPD Gang List, but will be considered inactive as long

as he is incarcerated. Once he is released, he will be considered an active gang member once again,

and will again be subject to the extremely harsh gang conditions while on parole. He has been on

the Gang List since at least 2016. Mr. Martel Costello brings this action on behalf of himself and

a class of similarly situated individuals who are subjected to Defendants’ unconstitutional actions

connected to the Gang List, and seeks injunctive and declaratory relief.

       40.     Plaintiff Jeremy Levy, Jr. is a 22-year-old Black man from Wichita. He is

incarcerated until at least 2042, currently in the Hutchison Correctional Facility, because of a

conviction of first-degree felony murder in 2017, when he was 18. Prior to being charged in that

case, Mr. Levy was listed on the WPD’s Gang List. Because of that, the prosecutor at his trial was

allowed to introduce to the jury Mr. Levy’s alleged gang status and multiple alleged “gang

incidents” of an alleged “gang feud” for over six months prior to the alleged incident in which Mr.

Levy was charged. There was no evidence that Mr. Levy had participated in those alleged gang



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feud events, nor any evidence that the incident with which Mr. Levy was charged—which involved

him and another individual—was gang-related. Mr. Levy is one of many individuals for whom

their presence on the Gang List allows the prosecution to introduce irrelevant and prejudicial

information at trial. Mr. Levy brings this action on behalf of himself and a class of similarly

situated individuals who are subjected to Defendants’ unconstitutional actions connected to the

Gang List and seeks injunctive and declaratory relief.

       41.     Defendant the City of Wichita is a municipal government body within the state of

Kansas. The City is a “person” within the meaning of 42 U.S.C. § 1983.

       42.     The City of Wichita is the largest city in Kansas, with a population of approximately

389,965 people. It is run by a Mayor and a six-member City Council, which collectively conduct

all legislative functions for the City and establish policies that are executed by the City Manager.

The City of Wichita has supervision over and responsibility for the WPD.

       43.     The WPD is a sub-unit of the City of Wichita municipal governmental body,

responsible for law enforcement activities within the City of Wichita. The WPD is the main law

enforcement agency responsible for policing activities within the City of Wichita. It employs

roughly 900 people in both civilian and sworn officer roles.

       44.     Defendant Chief Gordon Ramsay, in his official capacity, is the top law

enforcement officer within the WPD. He is responsible for the policies and procedures of the WPD,

their use and maintenance, and the general oversight of the WPD.

       45.     Defendant Lieutenant Chad Beard, in his official capacity, is the Supervisor of the

Gang Unit within the WPD. He is responsible for the use and maintenance, policies and

procedures, and oversight of the Gang List. He reports directly to Deputy Chief Jose Salcido,

Investigations Division Commander, who reports to Chief Gordon Ramsay.



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                                 FACTUAL ALLEGATIONS

Unconstitutionality of K.S.A. 21-6313

       46.    K.S.A. 21-6313 defines “criminal street gang” and lays out the criteria that

law enforcement agencies may use to designate someone a “criminal street gang member.”

Under 21-6313(b):

       “criminal street gang member” is a person who:

       (1) Admits to criminal street gang membership; or

       (2) Meets three or more of the following criteria:

              (A) Is identified as a criminal street gang member by a parent or guardian;

              (B) Is identified as a criminal street gang member by a state, county or city

                  law enforcement officer or documented reliable informant;

              (C) Is identified as a criminal street gang member by an informant of

                  previously untested reliability and such identification is corroborated by

                  independent information;

              (D) Frequents a particular criminal street gang’s area;

              (E) Adopts such gang’s style of dress, color, use of hand signs or tattoos;

              (F) Associates with known criminal street gang members;

              (G) Has been arrested more than once in the company of identified criminal

                  street gang members for offenses which are consistent with usual

                  criminal street gang activity;

              (H) Is identified as a criminal street gang member by physical evidence

                  including, but not limited to, photographs or other documentation;

              (I) Has been stopped in the company of known criminal street gang

                  member two or more times; or
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                (J) Has participated in or undergone activities self-identified or identified

                    by a reliable informant as a criminal street gang initiation ritual.”

        47.     WPD Policy 527 was drafted to be consistent with K.S.A. 21-6313.

However, the WPD had a functioning Gang List for decades before K.S.A. 21-6313 was

enacted in 2006. Upon information and belief, the criteria in K.S.A. 21-6313 derived

largely from the criteria the WPD was already using, with the addition of K.S.A. 21-

6313(b)(2)(J). After K.S.A. 21-6313 was enacted, however, the WPD went back and

altered entries in its older records to conform with the statutory criteria listed in K.S.A. 21-

6313. Thus, for those entries in the gang records prior to 2006, the entries may have been

altered from what was there originally.

        48.     K.S.A. 21-6313 and WPD Policy 527 suffer from numerous constitutional

defects. For example, they provide no limitation on what type of clothing or paraphernalia

may satisfy the color criteria at K.S.A. 21-6313(b)(2)(E), permitting the WPD to identify

people as gang members, for example, if they wear certain professional sports team jerseys,

school uniforms, or common colors that they simply like. Further, there is no limit on or

enumeration of which or how many colors may be considered gang-affiliated; as a result,

people are unable to conform their style of dress to K.S.A. 21-6313 and Policy 527 to avoid

being classified as gang members.

        49.     As another example, K.S.A. 21-6313 also allows the WPD to place

someone on the Gang List if that person is identified as a gang member by another law

enforcement officer. Yet there is no limitation or process required for such an

identification, and no requirement that such an identification be verified or otherwise

corroborated in any way. Nor is there any requirement that the officer document the reasons



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for his or her belief that the individual is a gang member. Furthermore, there is no

requirement that a record of the name of the identifying officer be maintained, making it

virtually impossible to confirm or dispute the validity of any such identification.

         50.   There is no definition of “gang area” in either K.S.A. 21-6313 or WPD

Policy 527 and no way for an individual to know what that means in order to avoid such

areas.

         51.   There is no way for an individual who is associating with another individual

to know if that person is already on the Gang List; there is therefore no way for a person to

know whether or not they are meeting the criteria of K.S.A. 21-6313(b)(2)(F).

         52.   Under K.S.A. 21-6313(a), the WPD may place someone on the Gang List

if the person self-identifies as a gang member. However, there is no requirement in policy

or practice that a person’s “self-identification” as a gang member be verified. It is therefore

possible for an officer to falsely claim that an individual admitted to being a gang member

and place them on the list as a result.

         53.   There is no way to know who is on the Gang List, no requirement for

notification that a person has been listed, no way to challenge the designation, and no way

to be removed from the Gang List.

         54.   These almost infinitely broad criteria allow—even inevitably cause—

rampant discrimination and other unconstitutional practices in law enforcement

application.

         55.   This is borne out by the racial distribution of the Wichita Gang List itself.

Based on information provided publicly by the WPD, there are currently 1,833 Active

Gang Members, 298 Associate Gang Members, and 239 Deceased Gang Members listed



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in the Gang List. The racial disparities of membership on the list are stunning: 60% Black,

25% Latinx, 9% other racial minorities such as Asian and Indigenous Peoples, and only

6% White.

       56.     The statutory criteria included in K.S.A. 21-6313 are so broad and vague

that they are incapable of putting people on notice that their conduct or style of dress may

result in them being labeled a gang member. People are therefore unable to conform their

conduct to avoid the consequences of meeting the statutory criteria and being placed on the

Gang List.

       57.     The consequences of being named in the Gang List are severe. They range

from being denied employment, housing, and licenses; to being frequently surveilled and

harassed; to having a high bail amount assessed upon arrest and exceedingly harsh

probation and parole conditions; to having irrelevant and prejudicial evidence admitted at

trial; to experiencing harsher and longer incarceration conditions.

Unconstitutionality of WPD Policy 527

       58.     The WPD’s maintenance and use of a Gang List is governed by Kansas state

law and WPD policy.

       59.     WPD Policy No. 527 identifies procedures for how the WPD administers

the Gang List. Members of the WPD’s Gang/Felony Assault Section or Violent Crimes

Community Response Team are responsible for monitoring and documenting gang

members in accordance with WPD Policy No. 527.

       60.     Virtually all of the criteria for identification as a criminal street gang are

non-criminal, lawful activities. Many of these criteria—including those regarding

association, expression, or movement within the community—are protected First

Amendment activities.
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        61.      The criteria that WPD officers use to determine gang affiliation are almost

entirely unrelated to actual criminal conduct or active participation in gang activities.

        62.      According to the WPD Gang Unit Supervisor, certain colors and symbols

are associated with gangs. The WPD will consider individuals wearing these colors or

symbols—including clothing associated with certain professional sports teams—to be

wearing a “gang style of dress or color” sufficient to meet the criteria listed in K.S.A. 21-

6313.

        63.      Upon information and belief, the WPD has a practice of falsely indicating

that individuals self-admitted to gang membership when entering them into the Gang List

without corroboration of the admission, particularly when the officer cannot substantiate

the individual’s gang membership. This practice was documented in a video news story by

Wichita’s KSN TV in May 2012. In the video, available on YouTube, 4 two officers of the

WPD’s Gang Unit are shown conducting a traffic stop because a passenger is not wearing

a seatbelt. After speaking with the men inside the car, an officer claims that the passenger

self-identified as a gang member and appears to add the man to the Gang List on the spot.

In response to KORA requests, the WPD has refused to disclose statistics or information

regarding the bases for including individuals on its Gang List, obscuring the full extent of

this practice.

        64.      The WPD frequently add people to the Gang List merely because such

people are related to, work with, or attend school with someone already on the Gang List.

Even a single interaction with someone already on the Gang List may lead to an individual

being designated a gang member or associate. Again, the WPD’s refusal to disclose its


4
  Wichita Police Work to Slow Gang Violence - KSN TV, YouTube (May 10, 2012),
https://www.youtube.com/watch?v=vUhRPu2Chao. Documented traffic stop begins at 2:48.

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bases for including individuals on the Gang List—even as aggregate data—obscures the

full extent of this practice.

        65.     Individuals can be included on the Gang List merely because they

“associate” with other people listed on the Gang List. This can include classmates, co-

workers, or even family members.

        66.     According to the WPD’s Standard Operating Procedure for Entries into the

Gang List, a person can be added to the Gang List as a “criminal street gang associate” if

he or she only meets two criteria listed in K.S.A. 21-6313, rather than the three criteria

required to be listed as a “member.”

        67.     In practice, WPD officers often include individuals in the Gang List without

any justification or evidence proving that they are in fact members of street gangs.

General Parameters of the WPD Gang List

        68.     Pursuant to WPD Policy No. 527, if a WPD officer identifies a person for

inclusion in the Gang List based on the criteria in K.S.A. 21-6313, the person will be listed

in the Gang List as “active” for a minimum of three years. If a person is listed as active,

and then later becomes incarcerated, that person will be returned to active status upon

release from custody.

        69.     If a person is listed in the Gang List as active, but has “no documented

activity” for three years, the person’s status will be changed to “inactive.” However,

pursuant to WPD policy, the three-year period will start over if the person meets the criteria

listed in K.S.A. 21-6313, is involved in “criminal street gang activity,” or if there is

“documentation of criminal street gang member or associate criteria.”

        70.     This means two things. First, a person can be listed in the Gang List for

relatively innocuous behavior, such as wearing a particular color, appearing in a
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photograph with someone else listed on the Gang List, and/or living in a community with

known gang members. And second, once a person is listed in the Gang List, in order to be

placed as “inactive,” that person would have to refrain from meeting a single Gang List

criteria for a three-year period. A person included on the Gang List for any reason would

have to avoid wearing any gang color, being seen or photographed with anyone on the

Gang List, and potentially move from his or her community to avoid being accused of

“frequenting a particular criminal street gang’s area.”

       71.     For this reason, the WPD rarely moves people from “active” to “inactive”

on the Gang List.

       72.     Instead, people can remain on the Gang List for decades based on what they

wear, whom they live near, whom they are related to, and myriad other examples of

innocent behavior.

       73.     Elbert Costello, for example, has been on the Gang List for several decades.

Although he is in his mid-40s and has children of his own, he is still friends with people

from high school on the Gang List, and is therefore still labeled as a gang member. He is

still subject to surveillance and harassment and often has to endure needless and invasive

traffic stops. And his designation as a gang member is routinely extended for an additional

three years because of what he is wearing or whom he is seen with. In March 2021, Mr.

Costello’s placement on the Gang List as an active gang member was extended until March

2024 because he was observed by WPD officers wearing a red “Phillies” hat in a photo on

Facebook.

       74.     Other individuals on the Gang List have been pulled over by Wichita Police

officers while driving with their families and have had those officers refer to them by old



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nicknames listed in the Gang List. These nicknames, like the individuals themselves, need

not have ever been gang-related in order for the individual to be included on the Gang List.

These individuals are now grown adults with children and grandchildren, having long left

behind adolescent nicknames and personas. Those individuals report feeling humiliated

and degraded by the WPD’s insistence that they are gang members and by the WPD’s

reference to them as gang members in front of their grandchildren.

Lack of Notice and Ability to Contest Gang Membership

       75.     The WPD provides no notice to the vast majority of people when they are

first listed in the Gang List, provides no ongoing notice to anyone who is added or removed

from the Gang List, and provides no notice to anyone who is moved from “inactive” back

to “active.”

       76.     Many individuals find out they are on the list for the first time when they

apply for and are denied employment, housing, or licenses based on being on the Gang

List, or when they are arrested or charged with a crime.

       77.     WPD Policy No. 527 does not include any provisions related to these vital

components of due process, with the sole exception being that the WPD will “attempt to

contact” the parent or guardian of any juvenile listed in the Gang List.

       78.     Upon information and belief, however, the WPD does not in practice

contact the parents or guardians of juveniles when they are listed in the Gang List. Rather,

most youth (and their parents) remain unaware they are on the Gang List.

       79.     Even if the WPD does notify a parent of a juvenile they are on the Gang

List, the parent is not given any opportunity to contest their child’s inclusion. The letter the

WPD sends informing the parents of the juvenile’s inclusion merely offers to provide the

family with “intervention options and resources.”
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        80.      For many juveniles, the first time they learn they are on the Gang List is

when they are arrested and their inclusion on the Gang List is listed in the Probable Cause

Affidavit for their arrest.

        81.      The WPD also provides no process for challenging one’s inclusion on the

Gang List or requesting to be removed from the Gang List. WPD Policy No. 527 offers no

process or procedure regarding removal or challenging the listing, and the WPD posts no

other relevant policies or procedures on its website nor makes such policies or procedures

publicly available or known.

        82.      Even if there were a publicly available policy or procedure for contesting

inclusion on the Gang List or requesting removal, members of the public would not be able

to avail themselves of it because the WPD does not notify people when they are added to

the Gang List.

        83.      The WPD shares its Gang List with other local, state, and national law

enforcement agencies, including the Kansas Bureau of Investigation, pursuant to a

Confidentiality and Usage agreement. These other entities may have notice of an

individual’s placement on the Gang List, even though the individual does not know he or

she is on the Gang List.

        84.      Upon information and belief, entities with whom this information is shared

are often contacted for background checks by potential employers, landlords, or licensing

agents. Disclosure of the information that an individual is considered a member of a

criminal street gang has a huge negative effect on that individual’s employment, housing,

and licensing prospects.




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Targeting Innocent, Constitutionally-Protected Activity

        85.    The WPD has a policy or practice of encouraging its officers to surveil

particular communities and groups in order to add people to the Gang List.

        86.    In particular, members of the WPD’s Gang Unit are instructed to surveil

community members’ social media accounts to find photographs of people with known

gang members, patrol and stop individuals in particular communities to question them as

to whether they might meet the criteria for inclusion in the Gang List, and use traffic stops

to identify drivers or occupants who are currently listed or qualify to be added to the Gang

List.

        87.     Community members and Plaintiffs have experienced repeated examples

of being subjected to this surveillance and targeting by WPD officers who are interested in

adding more people to the Gang List.

        88.    When WPD officers pull over a vehicle for a traffic infraction, they will

radio in a “Signal 33” to check whether the driver or passengers are listed in the Gang List.

If they are listed, WPD officers may interrogate the driver and passengers, threaten them,

or attempt to get information out of them regarding gang activity. If some of the passengers

are not listed, but others are, the WPD may use that as evidence that the non-listed

passengers should be added to the Gang List.

        89.    WPD policies, including their Instructions for New Gang Intel Form, directs

WPD officers to document all interactions for documented gang members so that the Gang

Unit will have a running list of the “vehicles they drive and who they associate with.” This

form also instructs officers to “document new addresses, vehicles, girlfriends, phone

numbers, and hang out locations,” which then allows the WPD to surveil and closely track

those individuals and their friends and family.
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       90.     The WPD also regularly monitors the social media accounts of community

members to identify evidence that could be used to label individuals as gang members.

WPD Standard Operating Procedures provides instructions for how officers can save

images and videos from Facebook and YouTube that meet one of the criteria listed in

K.S.A. 21-6313.

       91.     Upon information and belief, assignment to the WPD’s Gang Unit is

considered a desirable job and a promotion from the street patrol position. When

considering officers to promote to positions within the Gang Unit, the WPD considers how

well the officer is able to identify individuals to be added to the Gang List, including the

officer’s ability to covertly identify community members through social media and track

their postings and shared photographs.

       92.     Upon information and belief, some WPD officers maintain fake social

media profiles in order to befriend members of the community to more easily have access

to photos and other information that would allow the officers to add more people to the

Gang List and qualify for promotion to the Gang Unit.

       93.     Upon information and belief, WPD officers often pull people over, tell them

that they “just want to talk,” and then ask them a series of leading questions in an attempt

to collect enough information that would justify adding those individuals to the Gang List.

       94.     These practices profoundly affect how Plaintiffs interact with their friends

and families and move about the community. Community members report that they cannot

ride in the car with certain friends or go to certain public places in their neighborhoods

because they are afraid it will cause them to be labeled as a gang member.




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Increased Punishment as a Result of Inclusion on Gang List

        95.     Inclusion in the Gang List can have profound impacts on a person’s daily

life, especially if they become involved in the criminal justice system.

        96.     In particular, if a person is listed in the Gang List and charged with a person

felony (whether or not the charged felony is connected with any of the criteria for Gang

List inclusion), state law mandates that bail be set at a minimum of $50,000. K.S.A. 21-

6316. The only exception is if the judge makes a finding on the record that the defendant

is not likely to reoffend and will be subject to intensive pretrial supervision—which often

comes at great personal and financial cost.

        97.     Conviction of certain offenses also carry higher sentences if the person

convicted is a “known criminal street gang member.” See, e.g., K.S.A. §§ 21-6804, 21-

6301, 21-6315, 21-6811.

        98.     Upon information and belief, prosecutors in the Sedgwick County District

Attorney’s office will also use a person’s inclusion on the Gang List as a reason to offer

less attractive plea offers.

        99.     When a person is on the Gang List and sentenced to probation or released

on parole, they must abide by specific special conditions, including the following: 5

                a. Not associating with anyone affiliated in a gang;

                b. Not wearing any clothing with the primary color being red;

                c. Abiding by a curfew from 9:00 p.m. to 5:00 a.m.;

                d. Not riding in a car with more than one person unless those people are

                     siblings, parents, or children;


5
 A true and correct copy of the Sedgwick County Department of Corrections Gang Conditions Attachment is
provided as Exhibit B to this complaint.

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               e. Not engaging in “throwing or showing gang hand signs”;

               f. Not associating with a family member or extended family member who

                   is a documented gang member (exception being immediate family

                   only—brother, sister, or parents); and

               g. Not using social media to post “statements having any relationship to .

                   . . any gang whatsoever” or posting any photos or images “that can in

                   any way be associated with . . . any gang.”

       100.    Because many of these conditions are inherently vague, proscribe innocent,

constitutionally protected conduct, and significantly curtail people’s ability to live and

move freely in their communities, the gang conditions imposed on those listed on the

WPD’s Gang List create a significant risk of probation or parole violations.

       101.    Being on the WPD’s Gang List therefore results in significantly more

punitive restrictions on a person’s liberty while on probation or parole than individuals not

on the Gang List, and may result in an increased risk that the WPD or the Sedgwick County

Department of Corrections will charge that person with a probation violation and revoke

their community supervision.

Disparate Impact on Minority Communities

       102.    The racial and ethnic makeup of those listed in the Gang List is

overwhelmingly Black and Latinx.

       103.    According to the most recent census data, only 10.9% of the greater Wichita

community is Black, and only 17.2% is Hispanic.

       104.    However, roughly 60% of those listed in the Gang List are Black, and over

25% are Latinx.



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       105.     It is clear that inclusion in the WPD Gang List disproportionately impacts

Black and Latinx communities, suggesting that the WPD systematically targets Black and

Brown neighborhoods and community members for gang enforcement activities and

surveillance.

Progeny and its Members are Negatively Impacted by the Gang List

       106.     Progeny is an organization that seeks to assist individuals who are involved

in the criminal-legal system and work towards reducing, and eventually eliminating, the

myriad harms caused by the juvenile justice system. For example, Progeny holds town

halls, facilitates conversations with impacted youth, provides support and services to youth

who are involved in the criminal legal system or transitioning back to the community, and

engages with elected officials regarding their policies and reform efforts that may impact

system-involved youth. The Gang List is a direct impediment to carrying out that mission,

as it stigmatizes Progeny’s members and Youth Leaders and their families, and prevents

Progeny from assisting individuals listed in the Gang List to move away from any criminal-

legal system involvement.

       107.     Many of Progeny’s members and Youth Leaders have been directly

impacted by the Gang List; they are either listed themselves, or have family members and

friends who are listed in the Gang List.

       108.     Other Progeny members have experienced repeated harassment by WPD

officers, including being pulled over while on their way to school or work and questioned

about gang activity.

       109.     Plaintiff Mr. Elbert Costello is a member of Progeny and works with

Progeny staff to help advance Progeny’s mission of juvenile justice reform and

reinvestment. As discussed elsewhere in this Complaint, Mr. Costello is listed as an active
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gang member on the WPD Gang List. Other members of Progeny are or previously were

listed as gang members on the WPD’s Gang List and have suffered harassment and

surveillance by the WPD as a result. And, given the broad and vague criteria of K.S.A. 21-

6313, many other members of Progeny likely meet the criteria for being labeled as gang

members or associates, yet do not know whether or not they are included on the Gang List.

       110.    Because associating with individuals listed on the Gang List is a criteria for

designation as a gang member or associate, K.S.A. 21-6313 and Policy 527 strongly

discourage Progeny from holding meetings of any kind. Most individuals have no way of

knowing whether they are included on the Gang List—or whether others affiliated with

Progeny are. Meeting in large groups or even one-on-one thus puts Progeny members at

risk of causing each other to be designated as gang members or associates by the WPD.

       111.    Even worse, for individuals whose inclusion on the Gang List is known (due

to an arrest affidavit, background check, or otherwise) or who have truly been connected

with street gang activity, K.S.A. 21-6313 and Policy 527 in effect forbid anyone from

providing services or support to such persons. Interaction of any kind with such individuals

carries the risk of life-long gang member or associate designation, and the many criminal

and civil consequences of that designation. In this way, both Progeny members and the

individuals and communities they seek to serve are discouraged from, punished for, and

deprived of fundamental rights of association and assembly.

       112.    The WPD’s policies prevent Progeny from successfully carrying out its

work helping juveniles involved in the criminal justice system. The Gang List consistently

wraps up Progeny members in its throes, subjecting them to ongoing punishment and




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distracting Progeny from its ability to help those youth positively readjust to life in the

community.

        113.   Progeny has had to divert resources away from other projects and direct

individual assistance to aid members who are facing repercussions associated with their

inclusion in the Gang List.

        114.   Eliminating, the Gang List would allow Progeny to fulfill its mission of

assisting youth in the justice system and helping the greater Wichita community reinvest

in community-based alternatives.

Christopher Cooper is Negatively Impacted by the Gang List

        115.   In 2014, Mr. Cooper was a college student at Highland Community College.

He had received a scholarship to K-State, and was preparing to transfer there.

        116.   While on break from school, he attended a party. At the party, there was an

altercation and shooting ensued. As Mr. Cooper was leaving the party in his car, one of the

individuals involved in the shooting jumped into Mr. Cooper’s car, and Mr. Cooper drove

away.

        117.   In the next few days, Mr. Cooper was arrested and charged with First

Degree Murder. At his arrest, he learned for the first time that he had been included on the

Gang List. Mr. Cooper denies that he was ever a gang member or associate at any time.

        118.   Mr. Cooper had no criminal history prior to this event.

        119.   Mr. Cooper’s bail was set at $50,000 because he was on the WPD’s Gang

List. Mr. Cooper remained in jail because he and his family could not afford the bail or

bond amount. Eventually, the prosecution offered Mr. Cooper a plea deal: he could plead

to obstruction of justice and accept probation. Ultimately, believing he had no choice, Mr.



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Cooper accepted the plea. He was incarcerated in jail for a year prior to accepting the plea

and being sentenced.

       120.    At sentencing, Mr. Cooper was placed on strict probation with gang

conditions. He had a 6 p.m. curfew for over a year. He had to live away from his family

because some of them were on the Gang List. Despite the hard conditions, Mr. Cooper

completed his probation.

       121.    Mr. Cooper lost his scholarship to K-State and has never been able to go

back to college.

       122.    Mr. Cooper has had no criminal charges or offenses since that incident in

2014. He is employed in the aircraft manufacturing business.

       123.    Even though Mr. Cooper has had no further criminal events, he has been

surveilled and harassed by the WPD. He has been stopped repeatedly for traffic infractions,

almost always for failure to signal within 100 feet of an intersection. When officers

approach his car, they already know his name and treat him like a criminal. This harassment

was consistent until Mr. Cooper began driving a car that is registered in the name of a

family member. Since that time, he has not been stopped by the WPD.

       124.    Recently, Mr. Cooper applied for a job with another company that would

have been a promotion in position and salary. He believed that he was going to be offered

the job, but after a background check, he was turned down. Mr. Cooper believes that he

was turned down because the background check identified him as an active gang member.

       125.    Mr. Cooper has never been and is not currently involved in or associated

with a criminal street gang in Wichita or anywhere else.




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       126.    Mr. Cooper’s presence on the Gang List has been extremely damaging to

him. Upon information and belief, he was treated more harshly than he would have been

as a college student with no prior criminal history who was not on the Gang List. Because

of this, he lost his scholarship and his chance to complete college. He is subject to

continuous harassment to the point that he had to discontinue driving his own car. He has

lost employment opportunities and the chance to advance in his career. The damages he

suffers are ongoing.

Elbert Costello is Negatively Impacted by the Gang List

       127.    Mr. Costello first learned that he was on the Gang List when he was arrested

in connection with a shooting in Salina, Kansas, in 1997, and the charging documents listed

him as a known gang member. Prior to that, Mr. Costello was never told that he was on the

Gang List.

       128.    Mr. Costello was convicted of voluntary manslaughter and sentenced to a

period of imprisonment. He was placed in a higher level custodial setting because of his

inclusion on the Gang List.

       129.    Following Mr. Costello’s incarceration, he served three years on parole

where he was subjected to punitive gang conditions and increased surveillance because of

his inclusion on the Gang List.

       130.    Mr. Costello was never given the opportunity to contest his inclusion on the

Gang List, nor notified of the reasons why he was placed on the list.

       131.    Mr. Costello is not, nor has he ever been, a member of a criminal street gang

in Wichita or anywhere else. Mr. Costello admits that he had relatives who were involved

with gangs, but he himself was never associated with a gang.



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       132.    Both during and following his parole, Mr. Costello was subjected to

increased surveillance and harassment by WPD officers. Mr. Costello was—and continues

to be—routinely stopped by the WPD for minor traffic violations. For example, WPD

officers routinely pull Mr. Costello over for infractions such as “not signaling within 100

feet,” and then subject Mr. Costello to invasive questioning.

       133.    While Mr. Costello was on parole, the police would search his car anytime

he was stopped because he was on the Gang List and subject to special conditions of parole

for gang members.

       134.    Mr. Costello experiences fear and anxiety on a daily basis because he knows

that the WPD is watching him and will pull him over for any minor rule violation so that

they can intimidate and harass him.

       135.    Mr. Costello cannot get together with many of his lifelong friends because

he knows that they are also on the Gang List. Being together would give the WPD an

excuse to further target or harass Mr. Costello and his friends and change any of their

statuses on the Gang List from inactive to active. Mr. Costello also tries to avoid taking

any photographs with his friends because he is afraid that the WPD will find them on social

media and use them to continue to claim that he is in a gang.

       136.    Mr. Costello also avoids visiting certain businesses or establishments in his

community—including gas stations—that he thinks the WPD has identified as “gang

hangouts.” He therefore drives out of his way to get gas to avoid being further targeted by

the police.

       137.    In Mr. Costello’s WPD gang record, which counsel was allowed to view

but was not provided copy of, there are approximately 30 entries pertaining to Mr.



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Costello’s actions over the last 25 years. The majority of those entries concern photos of

him or notations of him socially interacting with others on the Gang List. Each instance

has led to Mr. Costello being “renewed” on the Gang List for an additional three years as

an “active gang member.”

          138.   Most recently, on January 16, 2021, there is a notation that an officer

observed Mr. Costello in a photo on social media wearing a red “Philadelphia Phillies”

Major League Baseball cap. Because the color red is associated with a gang, the WPD

deemed this a gang related activity and extended Mr. Costello’s period of “active” gang

membership until January 2, 2024.

          139.   On March 10, 2021, Mr. Costello was identified as a “known gang member”

in a story in The Wichita Eagle about a shooting that did not involve him at all. 6 Apparently,

a parole officer stated to the reporter that the alleged perpetrator of the shooting had been

seen in January 2021 with Mr. Costello, who was a “known gang member.” The occasion

of which the parole officer was speaking was the funeral of a friend of Mr. Costello’s. Mr.

Costello exchanged pleasantries with the other individual, and that was all, but it was

considered an incidence of gang association. Mr. Costello was embarrassed and humiliated

that he had been publicly identified as a known gang member in a publication available

throughout his home town of Wichita. The Wichita Eagle has since revised its article to

remove Mr. Costello’s name, after receiving complaints from Mr. Costello’s friends and

family.

          140.   Mr. Costello’s inclusion on the Gang List has had a profound impact on his

life. It has prevented him from maintaining meaningful relationships, prevented him from


6
 A true and correct copy of the news article, as it appeared in The Wichita Eagle on March 10, 2021, is attached as
Exhibit C.

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frequenting businesses, and has subjected him to unrelenting and unconstitutional

surveillance and enforcement activity by the WPD, which causes him significant anxiety

and fear. Because Mr. Costello sometimes socializes with friends his age, who were also

put on the Gang List in their youth, it appears that the WPD intends to list him as an active

gang member throughout his life.

Martel Costello is Negatively Impacted by the Gang List

        141.    Plaintiff Martel Costello was charged with marijuana offenses and

possession of firearms offenses in September 2016. He had no prior adult criminal history

and only one juvenile offense on his record. He learned that he was on the WPD’s Gang

List at the time of his arrest.

        142.    Mr. Martel Costello was released pretrial following his arrest. While on

pretrial release, he was repeatedly stopped by the WPD for traffic violations and then

arrested for unknown outstanding warrants. At no point during any of these stops did the

WPD issue Mr. Martel Costello a ticket for a traffic infraction. Instead, the WPD used these

traffic stops as a reason to search Martel’s car and arrest him.

        143.    When arrested, Mr. Martel Costello’s bond amounts were set very high due

to his status on the WPD’s Gang List. His mother had to place her home up as collateral in

order to bond him out of jail.

        144.    In October 2017, Mr. Martel Costello reached a plea deal with the

prosecutor for his underlying charges. At sentencing, the judge gave him an initial sentence

of 18 months’ probation, with 79 months underlying should he violate the terms of his

probation. The judge also assigned him special conditions of probation due to Mr. Martel

Costello’s status on the WPD’s Gang List. These conditions included a restrictive curfew

and prohibition on associating with anyone else listed on the Gang List.
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        145.   From October 2017 to April 2018, Mr. Martel Costello lived in the

community and abided by these conditions, with the exception of two minor infractions—

using alcohol on one occasion, and being six minutes late for curfew on another occasion.

        146.   In April 2018, Mr. Martel Costello was attending a family gathering

following the death of his niece. A drive-by shooting occurred while he was in the home;

the shooter fired at the house’s garage. When the WPD came to investigate the drive-by

shooting, they found that Mr. Martel Costello was in the home with another person listed

on the Gang List— Mr. Martel Costello’s cousin—and that his aunt had her handgun in

her purse. As a result of this, Mr. Martel Costello was charged with firearm possession (for

his aunt’s gun, which he did not bring and was not on his person) and with a probation

violation for being with a known gang member. He was incarcerated for this on April 25,

2018.

        147.   Between June 2018 and June 2019, Mr. Martel Costello served time in

various settings. Ten days after being released from custody in June 2019, the WPD pulled

him over again, claiming that the car he had recently bought had bad tags. The WPD

impounded the car and searched it, thereby leading to a new charge of possession of

paraphernalia and a traffic ticket for the bad tag. The WPD arrested Mr. Martel Costello

and incarcerated him again, pending adjudication of these new charges.

        148.   In late August 2019, Mr. Martel Costello’s brother passed away. On August

21, 2019, his family posted Mr. Martel Costello’s bond so that he could be with the family

for his brother’s funeral. The funeral was held on August 23, 2019, and Mr. Martel Costello

attended in person.




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       149.    The following Monday, Mr. Martel Costello’s probation officer told him

that he needed to come in to take a urinalysis screen. When Mr. Martel Costello showed

up for the screen, he was placed under arrest for violating his conditions of release—

namely, being at his own brother’s funeral, because other people on the WPD’s Gang List

were also present.

       150.    Mr. Martel Costello was eventually sentenced to prison for the probation

violation charges, plus the possession of paraphernalia charge from June 2019. His earliest

release date is 2023, but if he loses his good time credit for any reason, he will remain

incarcerated through 2025.

       151.    On information and belief, the WPD placed Mr. Martel Costello on its Gang

List in 2016 because of whom Mr. Martel Costello was related to, rather than any particular

conduct by Mr. Martel Costello. Since then, the WPD has taken every opportunity to

harass, surveil, and punish Mr. Martel Costello simply because he is on the Gang List.

       152.    Mr. Martel Costello has had to abide by strict conditions of probation and

pretrial release every time he is bonded out of jail because of the WPD’s designation that

he is a gang member. These conditions are so punitive that on two occasions Mr. Martel

Costello has been sent back to an incarceration setting simply for attending the funeral of

a loved one.

       153.    Mr. Martel Costello has never been involved in any gang activity and was

never told why he was placed on the Gang List in the first place.

       154.    Whenever Mr. Martel Costello is living in Wichita, such as when he has

been released pretrial or on probation, he is subjected to consistent harassment by the WPD,

including multiple traffic stops and searches. Despite these unrelenting traffic stops, Mr.



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Martel Costello has yet to receive a ticket for an alleged traffic offense, except the “bad

tag” ticket detailed above.

       155.    Mr. Martel Costello fears that because of his arbitrary placement on the

Gang List, he will never be able to interact with his friends and family or conform his

conduct in a way that will keep the WPD from labeling him as a gang member.

       156.    Because of Defendants’ actions, Mr. Martel Costello has been subjected to

significantly harsher punishment than he would have experienced had he not been on the

Gang List.

Jeremy Levy, Jr. is Negatively Impacted by the Gang List

       157.    Plaintiff Jeremy Levy, Jr. was charged with first-degree felony murder in

2017 when he was 18 years old. The charges involved an incident where Mr. Levy and

another individual were involved in an altercation that involved shots being fired in a

parking lot, and a bystander in a car in the parking lot was killed.

       158.    The altercation involved a dispute between Mr. Levy and another individual

over the affection of a young woman.

       159.    There was no scientific evidence that the shot that killed the bystander came

from Mr. Levy.

       160.    Prior to this incident, Mr. Levy had never been charged with a crime. As a

juvenile, Mr. Levy had some interaction with the juvenile justice system, but only in a few

incidents that would have constituted misdemeanors for an adult.

       161.    Mr. Levy believes the WPD added him to its Gang List when he was 13

years old. Mr. Levy was riding in a car with his cousins when the car was pulled over by

the WPD. Mr. Levy believes he was added to the Gang List then because one of his cousins

was already on the Gang List.
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       162.    Mr. Levy is not, nor has he ever been, a member or associate of a criminal

street gang in Wichita or elsewhere.

       163.    During his trial for felony murder, the prosecutor moved the court to allow

the entry of Mr. Levy’s gang status into evidence of a motive for an “otherwise inexplicable

event,” on the theory that the shooting was part of a gang feud.

       164.    The prosecutor’s evidence of the alleged theory was that Mr. Levy was

listed on the Gang List as a Folk Gang Disciple and the other individual was listed on the

Gang List as being a member of a different gang.

       165.    Over Mr. Levy’s objection both pre-trial and during the trial, the

prosecution introduced evidence of at least 13 different “gang related incidents.” These

alleged incidents included several shootings and other serious criminal offenses. It was not

alleged that Mr. Levy was present or involved during any of these events except one event

in which Mr. Levy was himself injured, which was not related to any gang activity.

       166.    The introduction of the gang-related incidents was extremely prejudicial to

Mr. Levy, and it guaranteed that he could not receive a fair trial for the one incident with

which he was charged. Even though he was not alleged to have personally participated in

the “gang-related events,” these events were put before the jury as background to

demonstrate that the incident with which he was charged was not an isolated event. The

jury convicted him of first-degree felony murder, and he received a harsh sentence, in

which he will not be eligible for parole at least until 2042.

       167.    Mr. Levy is one of many individuals for whom their presence on the Gang

List has allowed prosecutors to introduce irrelevant and prejudicial information at trial.




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         168.   Presence on the Gang List has additional consequences for such individuals,

including a mandatory bail of at least $50,000, longer sentences in higher security prisons,

far harsher probation and parole conditions, and, upon information and belief, negative

effects on their ability to obtain favorable pleas or diversions.

         169.   Upon information and belief, individuals on the Gang List with stricter

conditions of probation are more likely to be found in violation of their probation and

incarcerated as a result, even if their original offense of conviction did not justify a prison

sentence.

                               CLASS ACTION ALLEGATIONS

         170.   Pursuant to Federal Rules of Civil Procedure 23(a) and (b)(2), the individually

named Plaintiffs bring this action on behalf of themselves and all other persons similarly situated

as members of the proposed class. Plaintiffs seek declaratory and injunctive relief against the

Defendants on behalf of the class.

         171.   This action satisfies the numerosity, commonality, typicality, and adequacy,

requirements of Federal Rules of Civil Procedure 23(a).

         172.   Plaintiffs bring this class action on behalf of the following classes, as set forth

below:

                Listed Gang Member or Gang Associate Class
                All persons included in the Wichita Police Department’s Gang List as an Active or
                Inactive Gang Member or Gang Associate.

                Equal Protection Class
                All persons included in the Wichita Police Department’s Gang List as an Active or
                Inactive Gang Member or Gang Associate who are Black, Latinx, or a member of
                another racial minority group, such as Asian or Indigenous Peoples.




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        173.    Plaintiffs reserve the right to amend the class definition if discovery or further

investigation reveals that the class should be expanded, divided into subclasses, or modified in any

way.

Numerosity

        174.    Although the exact number of class members is uncertain and can be determined

only through appropriate discovery, the number is great enough such that joinder is impracticable.

Based on information provided publicly by the WPD, there are currently 1,833 Active Gang

Members and 298 Associate Gang Members listed in the Gang List. The class is sufficiently

numerous to warrant class treatment, and the disposition of the claims of these class members in a

single action will provide substantial benefits to all parties and to the Court.

        175.    Plaintiffs do not currently know the identities of all class members. Plaintiffs are

informed and believe the identities of class members may be obtained from information collected

and maintained by the WPD.

Typicality

        176.    Plaintiffs’ claims are typical of the claims of the class in that Plaintiffs, like all class

members, have been placed on the WPD’s Gang List in violation of their constitutional rights.

        177.    Thus, Plaintiffs have the same interests and have suffered the same type of harm as

the class members. Plaintiffs’ claims are based upon the same or similar legal theories as the claims

of the class members.

        178.    Moreover, the factual bases of Defendants’ misconduct are common to all class

members and represent a common thread of misconduct resulting in similar injury to all members

of the class.




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Adequate Representation

       179.    Plaintiffs will fairly and adequately represent and protect the interests of the classes.

Plaintiffs have retained counsel with substantial experience litigating civil rights issues and class

actions. Plaintiffs and their counsel are committed to vigorously prosecuting this action on behalf

of the class and have adequate resources to do so.

       180.    Neither Plaintiffs nor their counsel has interests adverse to the classes.

Commonality

       181.    There are numerous questions of law and fact common to Plaintiffs and the class

members. The legal harms suffered by Plaintiffs and class members are identical. The answers to

these common questions will thus advance resolution of the litigation as to all class members.

These common legal and factual issues include:

               a. Whether K.S.A. 21-6313 is unconstitutionally broad and vague.

               b. Whether K.S.A. 21-6313 and the actions of Defendants violate the Due Process

                   Clause of the Fourteenth Amendment of the United States Constitution.

               c. Whether K.S.A. 21-6313 and the actions of Defendants violate the Equal

                   Protection Clause of the Fourteenth Amendment of the United States

                   Constitution.

               d. Whether K.S.A. 21-6313 and the actions of Defendants violate the Right of

                   Association and Expression Clause of the First Amendment of the United States

                   Constitution.

               e. Whether Plaintiffs’ constitutional rights were violated as a result of a

                   longstanding or widespread custom or practice that was the moving force

                   behind the constitutional violations.



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Rule 23(b)(2) Injunctive or Declaratory Relief

       182.    Plaintiffs and members of the class request certification of a class under Rule

23(b)(2) because Defendants have acted or refused to act on grounds that apply generally to the

class, such that final injunctive relief or declaratory relief is appropriate with respect to the class

as a whole. Defendants’ policies, practices, customs, and conduct have resulted in, and will

continue to result in, irreparable injury to Plaintiffs and class members, including, but not limited

to, violations of their constitutional and statutory rights. Plaintiffs have no plain, adequate, or

complete remedy at law to address the wrong described herein.

       183.    The injunctive relief requested by Plaintiffs and class members includes, but is not

limited to, an injunction striking down the WPD’s use of the Gang List and enjoining Defendants

from operating a Gang List in the future.

       184.    Plaintiffs and the class also seek a declaration (1) that K.S.A. 21-6313 is

unconstitutionally vague and overbroad, (2) that Defendants’ maintenance and use of a Gang List

pursuant to Policy No. 527 violates the First and Fourteenth Amendments of the United States

Constitution, and (3) adjudging Defendants’ policies and actions to be unconstitutional.

       185.    Further, Plaintiffs and the class seek a declaration that Defendants acted with

negligence, gross negligence, and willful, wanton, and careless disregard for the constitutional

rights of Plaintiffs and members of the class.

Rule 23(c)(4) Certification of Particular Issues

       186.    In the alternative to certification under Rule 23(b)(2), Plaintiffs and the class seek

to maintain a class action with respect to particular issues under Rule 23(c)(4).




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       187.    Specifically, the questions of whether K.S.A. 21-6313 is unconstitutionally broad

and vague, violates the First Amendment, or violates the Fourteenth Amendment are suitable for

issue certification under Rule 23(c)(4).

                                     CLAIMS FOR RELIEF

              Count I: Violation of Fourteenth Amendment Right to Due Process
                                           Vagueness
                               All Plaintiffs and Class Members

       188.    Plaintiffs incorporate each paragraph of this Complaint as if fully restated herein.

       189.    K.S.A. 21-6313, et seq., violates Plaintiffs right to due process of law under the

Fourteenth Amendment of the United States Constitution by failing to give Plaintiffs fair notice of

the requirements they must meet under the statute.

       190.    K.S.A. 21-6313, et seq., is unconstitutionally broad and vague in that it allows

individuals to be designated as criminal street gang members based on innocent, non-criminal

activities, such as what they wear, where they live, and whom they are related to.

       191.    K.S.A. 21-6313, et seq., is unconstitutionally vague because the statute includes

broad undefined language including, inter alia, terms such as “gang area,” “style of dress,” “hand

signals or tattoos,” “offenses consistent with criminal street gang activity,” and “physical evidence

such as photographs or other documentation” that are capable of multiple interpretations and

provide virtually unfettered discretion for police to designate an individual as a gang member or

associate.

       192.    K.S.A. 21-6313, et seq., is unconstitutionally vague because individuals do not

know whether or not they are on the Gang List, or whether their clothing choices, neighborhood

of residence, or other elements of everyday life would qualify them for inclusion on the Gang List.




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People therefore cannot conform their conduct to avoid being identified as an associate or member

of a gang and placed on the Gang List.

       193.    The unconstitutional vagueness of K.S.A. 21-6313, et seq. causes significant injury

and damage to all named Plaintiffs. Because Wichita residents are unable to conform their conduct

to avoid inclusion on Wichita’s Gang List, Progeny Kansas is unable to operate in a way that

avoids placing its members at risk of List membership and resulting civil and criminal

consequences. Mr. Elbert Costello is unable to make basic life decisions—such as where to buy

gas or what clothing to wear—in a way that ensures he will not be re-identified by the WPD as an

active gang member. Mr. Martel Costello and Mr. Levy will be unable to avoid violating probation

and pretrial release conditions that are premised on their own Gang List membership because they

do not know who else is on the Gang List. Like all Wichita residents, Mr. Cooper is unable to

conform his conduct to the WPD’s vague gang membership criteria and avoid the consequences

of Gang List membership.

                Count II: Violation of Fourteenth Amendment Right to Due Process
              Failure to Provide Procedural Due Process to Progeny (42 U.S.C. § 1983)
                                              Progeny

       194.    Plaintiffs incorporate each paragraph of this Complaint as if fully restated herein.

Progeny’s members not named as individual Plaintiffs in this lawsuit would have standing to sue

in their individual capacities if named as Plaintiffs. These members have suffered injuries in fact,

including the deprivation of constitutional rights to expression and assembly and procedural and

substantive due process, as well as unlawful police detentions, interrogations, searches, and

surveillance, and reputational and financial harms including denial of employment, housing, and

participation in social groups.




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       195.    By bringing this lawsuit, Progeny seeks to protect interests that are germane to

Progeny’s purpose. Progeny’s mission and operations center on the assembly, expression,

association and support of at-risk youth. By precipitating civil and criminal punishments on

Wichita residents for, among other things, entering certain neighborhoods and associating with

certain individuals, K.S.A. 21-6313 and Policy 527 directly obstruct Progeny’s purpose and

operations. Progeny seeks the invalidation of K.S.A. 21-6313 and Policy 527 so that it may carry

out its philanthropic and constitutionally-protected mission.

       196.    Neither the claims asserted nor the relief requested in this complaint requires the

participation of Progeny’s individual members in this lawsuit. Individual participation would be

prohibitively cumbersome and would amplify the unnecessary reputational harm caused by the

WPD’s erroneous and improper designation of Progeny members as gang members. Moreover,

the constitutional defects of K.S.A. 21-6313 and Policy 527 may be adjudicated, and the statute

and Policy invalidated, without the participation of unnamed individual Progeny members.

       197.    The foregoing actions by Defendants violate 42 U.S.C. § 1983 and the Fourteenth

Amendment of the United States Constitution.

       198.    The Fourteenth Amendment of the United States Constitution guarantees that no

citizen will be deprived of life, liberty, or property without due process of law.

       199.    The Gang List and Defendants’ policies and practices of (1) not providing notice to

individuals that they are listed in the Gang List, (2) not allowing individuals to contest their

addition to the Gang List, (3) not providing a clear process for individuals to petition for removal

from the Gang List, and (4) renewing individuals as Active Gang Members on the Gang List

without notice or any opportunity to challenge interfere with Progeny’s mission of keeping Kansas

youth out of the criminal justice system.



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       200.    The criteria for gang membership set forth in of K.S.A. 21-6313 and Policy 527 do

not reliably identify members of criminal street gangs for inclusion on the Gang List. As such,

these criteria are arbitrary and capricious, and serve no legitimate government interest. In fact, the

use of arbitrary criteria leading to consistently inaccurate gang membership designations frustrates

any conceivable legitimate government interest in combating gang violence or crime generally.

       201.    The Gang List interferes with Progeny’s mission of keeping Kansas youth out of

the criminal justice system because the inability to petition for removal from the Gang List keeps

Kansas youth tied indefinitely to the criminal justice system and interferes with the ability of these

youth to get education and employment.

       202.    Complications resulting from the WPD’s Gang List policies absorb Progeny

resources that would otherwise be devoted to its philanthropic mission, further damaging Progeny

and its members.

       203.    The Gang List further interferes with Progeny’s mission because it restrains

Progeny from hosting events or associating with Kansas youth. Because individuals are unable to

determine whether they are listed on the Gang List, Progeny and the youth attending Progeny-

hosted events risk being added to the Gang List based on the innocent, non-criminal activity of

being in contact with others at such an event who are listed in the Gang List.

               Count III: Violation of Fourteenth Amendment Right to Due Process
                    Failure to Provide Procedural Due Process (42 U.S.C. § 1983)
        Plaintiffs Christopher Cooper, Elbert Costello, Martel Costello, Jeremy Levy, Jr., and
                                      All Class Members

       204.    Plaintiffs incorporate each paragraph of this Complaint as if fully restated herein.

       205.    The foregoing actions by Defendants violate 42 U.S.C. § 1983 and the Fourteenth

Amendment of the United States Constitution.




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       206.    The Fourteenth Amendment of the United States Constitution guarantees that no

citizen will be deprived of life, liberty, or property without due process of law.

       207.    The Gang List and Defendants’ policies and practices of (1) not providing notice to

individuals that they are listed in the Gang List, (2) not allowing individuals to contest their

addition to the Gang List, (3) not providing a clear process for individuals to petition for removal

from the Gang List, and (4) renewing individuals as Active Gang Members on the Gang List

without notice or any opportunity to challenge violate the Fourteenth Amendment. Unilateral

action by one WPD officer is sufficient to place Plaintiffs on the Gang List. Unilateral WPD action

is also sufficient to renew Plaintiffs’ and others’ inclusion on the Gang List indefinitely, with no

process to allow them to protect their constitutional rights by challenging their inclusion or

petitioning to be removed.

       208.    Plaintiff Christopher Cooper received no notice of his designation as a gang

member on the WPD’s Gang List by WPD officers. He only learned that he had been designated

as a gang member on the WPD’s Gang List at some previous time after he was arrested following

a shooting at party he attended. He has never been informed of the basis for his designation as a

gang member, nor has he been provided an opportunity to challenge his designation or petition for

removal from the Gang List. Likewise, he has never received notice or been provided an

opportunity to challenge subsequent renewals of his gang member status. Plaintiff Mr. Cooper is

not and has never been a member of a criminal street gang.

       209.    Plaintiff Elbert Costello likewise received no notice of his designation as a gang

member on the WPD’s Gang List by WPD officers. He only learned that he had been designated

as a gang member on the WPD’s Gang List at some previous time after he was arrested in

connection with a shooting in Salina, Kansas, in 1997. Prior to his involvement in this lawsuit, he



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had never been informed of the basis for his designation as a gang member, nor has he ever been

provided an opportunity to challenge his designation or petition for removal from the Gang List.

Likewise, he has never received notice or been provided an opportunity to challenge subsequent

renewals of his gang member status. As a result, he has been designated as an “active” gang

member on the WPD’s Gang List for over 20 years—effectively a perpetual lifetime designation.

Mr. Costello is not and has never been a member of a criminal street gang.

           210.   Plaintiff Martel Costello likewise received no notice of his designation as a gang

member on the WPD’s Gang List by WPD officers. He only learned that he had been designated

as a gang member on the WPD’s Gang List at some previous time when he was arrested in

connection with marijuana offenses and firearm possession in 2016. He has never been informed

of the basis for his designation as a gang member, nor has he been provided an opportunity to

challenge his designation or petition for removal from the Gang List. Likewise, he has never

received notice or been provided an opportunity to challenge subsequent renewals of his gang

member status. Mr. Martel Costello is not and has never been a member of a criminal street gang.

           211.   Plaintiff Jeremy Levy, Jr. likewise received no notice of his designation as a gang

member on the WPD’s Gang List by WPD officers. He only learned that he had been designated

as a gang member on the WPD’s Gang List at some previous time when he was arrested in

connection with a shooting in 2017. He has never been informed of the basis for his designation

as a gang member, nor has he been provided an opportunity to challenge his designation or petition

for removal from the Gang List. Mr. Levy is not and has never been a member of a criminal street

gang. Moreover, the incident with which he was charged and is now incarcerated was not gang-

related.




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       212.     The criteria for gang membership set forth in of K.S.A. 21-6313 and Policy 527 do

not reliable identify members of criminal street gangs for inclusion on the Gang List. As such,

these criteria are arbitrary and capricious, and serve no legitimate government interest. In fact, the

use of arbitrary criteria leading to consistently inaccurate gang membership designations frustrates

any conceivable legitimate government interest in combating gang violence or crime generally.

       213.     Inclusion on the Gang List entails significant deprivations of liberty and property

consequences including detention, arrest, increased bond, criminal liability and incarceration or

enhanced sentencing, restrictive probation conditions, and loss of employment, housing, and social

opportunities. These deprivations significantly damage Plaintiffs and are effected without notice

or an opportunity to be heard in violation of the Fourteenth Amendment.

              Count IV: Violation of Fourteenth Amendment Right to Due Process
                Failure to Provide Substantive Due Process (42 U.S.C. § 1983)
                                All Plaintiffs and Class Members

       214.     Plaintiffs incorporate each paragraph of this Complaint as if fully restated herein.

       215.     Under K.S.A. 21-6313, an individual may be included on the WPD’s Gang List

based entirely on lawful, innocuous, and constitutionally protected conduct. Once on the Gang

List, individuals may be and regularly are renewed as “active” members of the list due to lawful,

innocuous and constitutionally protected conduct.

       216.     Inclusion on the WPD’s Gang List leads to significant deprivations of life, liberty

and property. These deprivations include:

          frequent, prolonged, intrusive, and hostile encounters with law enforcement;

          unreasonable searches of property;

          unjustified arrests;

          unwarranted online and in-person surveillance;



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          identification by and increased attention from WPD officers using “Signal 33”;

          allegations of gang membership in arrest affidavits and news media;

          increased bail leading to prolonged imprisonment and financial hardship;

          severely restrictive probation, pretrial release, and parole conditions;

          re-arrest, detention, and incarceration for violations of restrictive release conditions;

          diminished plea offers in connection with criminal charges;

          introduction of gang membership as evidence in criminal proceedings, leading to

           extreme prejudice, conviction, and incarceration;

          representation of gang membership to other public and private entities, leading to

           misidentification of Plaintiffs as gang members in background checks and news articles

           or other public sources; and

          loss of educational, employment, and housing opportunities.

       Plaintiffs—including Progeny and its members, individual named Plaintiffs, and Plaintiff

class members—have experienced and been damaged by these deprivations.

       217.    Additionally, inclusion on the Gang List is stigmatizing. Because other law

enforcement entities have access to the Gang List, and inclusion on the Gang List may come up in

background checks for employment, housing, or benefits, individuals face reputational harm and

disparate treatment as a result of Defendants’ actions.

       218.    Because of his inaccurate designation as a gang member on the WPD’s Gang List,

Plaintiff Christopher Cooper has experienced significant deprivations of life, liberty and property

including frequent, prolonged, hostile and unjustified police stops; identification by and increased

attention from WPD officers; heightened punishment leading to prolonged imprisonment,

financial hardship, and ultimately an unwarranted criminal plea and conviction; severely restrictive



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probation conditions including a 6 p.m. curfew and prohibition on contact with family members;

loss of his college scholarship; and loss of an employment promotion in position and salary.

       219.    Because of his inaccurate designation as a gang member on the WPD’s Gang List,

Plaintiff Elbert Costello has experienced significant deprivations of life, liberty and property

including frequent, prolonged, intrusive, and hostile police stops; unreasonable searches of his car;

identification by and increased attention from WPD officers; unwarranted surveillance; severely

restrictive parole conditions; representation of gang membership to other public and private

entities including The Wichita Eagle newspaper, and perpetual renewal of his inaccurate gang

member designation on the Gang List for reasons such as innocuous social interactions and

wearing professional sports team paraphernalia.

       220.    Because of his inaccurate designation as a gang member on the WPD’s Gang List,

Plaintiff Martel Costello has experienced significant deprivations of life, liberty and property

including frequent, prolonged, intrusive, and hostile police stops; increased bail leading to

prolonged imprisonment and financial hardship; severely restrictive probation and pretrial release

conditions including a curfew and ban on contact with family members and others (who in many

instances he has no way of identifying); re-arrest and incarceration for violations of restrictive

release conditions; unreasonable searches of property; unjustified arrests; unwarranted police

surveillance; and identification by and increased attention from WPD officers.

       221.    Because of his inaccurate designation as a gang member on the WPD’s Gang List,

Plaintiff Jeremy Levy, Jr. has experienced significant deprivations of life, liberty and property

including introduction of gang membership as evidence in criminal proceedings, leading to

extreme prejudice, conviction, and incarceration—which continues to this day.




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       222.     Progeny members have experienced significant deprivations of life, liberty, and

property including those described above. These deprivations interfere with Progeny’s essential

functions and prevent it from accomplishing its mission of serving Wichita youth.

       223.    Causing and imposing significant deprivations of life, liberty, and property on the

basis of lawful, innocuous, and constitutionally protected behavior substantively violates the Due

Process Clause of the Fourteenth Amendment of the U.S. Constitution.

       224.    The WPD’s policies and practices therefore unconstitutionally impede individuals’

liberty interests without due process of law.

             Count V: Violation of Fourteenth Amendment Right to Equal Protection
                   Disparate Impact on Minority Communities (42 U.S.C. § 1983)
        Plaintiffs Christopher Cooper, Elbert Costello, Martel Costello, Jeremy Levy, Jr., and
                               Equal Protection Class Members

       225.    Plaintiffs incorporate each paragraph of this Complaint as if fully restated herein.

       226.    Defendants have implemented, enforced, encouraged, and sanctioned policies,

practices, and customs of using discriminatory policing tactics to target the named Plaintiffs and

members of the Plaintiff class for inclusion in the Gang List based solely on their race and national

origin, in violation of the Fourteenth Amendment of the U.S. Constitution. The WPD intentionally

applies a facially neutral policy in a discriminatory manner. As a result, Defendants’ policy,

practice, and/or custom of maintaining the Gang List violates the Equal Protection Clause of the

Fourteenth Amendment.

       227.    Data indicates that Defendants’ Gang List-related policies and practices have a

discriminatory effect on Black and Latinx communities and that Black and Latinx people are

included in the Gang List at far higher rates than are similarly situated white people.

       228.    On information and belief, the WPD created its Gang List to track and surveil Black

and Latinx neighborhoods as part of an anti-gang enforcement strategy.

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       229.    The Kansas Legislature then codified the WPD’s harmful gang surveillance policy

and practices by passing K.S.A. 21-6313, basing that statute on the WPD’s practices of

categorizing predominately Black and Latinx Wichita community members as gang members or

associates based on whom they hang out with, the businesses they frequent, and the color of

clothing they wear.

       230.    By its acts and omissions, Defendants have acted under color of state law to deprive

Plaintiffs of their Fourteenth Amendment rights in violation of 42 U.S.C. § 1983.

       231.    Defendants intend to discriminate against people when they violate peoples’ rights

through placement in the Gang List. Defendants pursued this policy precisely because of the

adverse effects it has on Black and Latinx individuals.

       232.    Defendants do not subject similarly situated white individuals and communities to

the same level of surveillance, harassment, and monitoring for inclusion on the Gang List as they

do Black and Latinx individuals and communities.

       233.    Plaintiffs Christopher Cooper, Elbert Costello, Martel Costello, and Jeremy Levy,

Jr., have suffered injury and damage as a result of Defendants’ racially discriminatory policies and

practices. Each of these Plaintiffs is a Black male who is not, and has never been a member of a

criminal street gang, yet they have been included in the WPD’s Gang List. Each of these Plaintiffs

have suffered significant civil and criminal consequences as a result of their inclusion on the Gang

List. Upon information and belief, similarly situated white residents of Wichita are not targeted

for inclusion on the WPD’s Gang List, and do not suffer the same civil and criminal consequences

for inclusion, such as enhanced surveillance and police harassment, deliberate perpetual renewal

of Gang List status, unjustified arrests and searches, and introduction of Gang List status as

evidence in criminal proceedings for non-gang-related charges.



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        234.    Defendants were and remain deliberately indifferent to the harm created through

the implementation of the Gang List. Defendants have carried out this policy at least in part

because of the adverse effects it has had on Black and Latinx individuals, and a reasonable

inference can be drawn that supervisors have intended those effects to occur. Despite notice of

racial disparities in the Gang List, Defendants’ policies and practices concerning the Gang List

remain unchanged.

        235.    Defendants have implemented, enforced, encouraged, and sanctioned the WPD’s

policy, practice, and custom of using and maintaining a Gang List in a manner that constitutes

racial and/or ethnic discrimination against the Plaintiff class in violation of the Fourteenth

Amendment. As a direct and proximate result of the aforesaid acts and omissions of the City of

Wichita, the Fourteenth Amendment rights of the Plaintiffs have been violated.

        236.    Unless restrained by order of this Court, a real and immediate threat exists that the

Fourteenth Amendment rights of Plaintiffs will be violated by Defendants in the future. Plaintiffs

seek injunctive and declaratory relief against Defendants to prevent the continued violation of their

constitutional rights.

                          Count VI: Violation of First Amendment
        Right of Association and Expression ((42 U.S.C. § 1983) – Direct Prohibition
                              All Plaintiffs and Class Members

        237.    Plaintiffs incorporate each paragraph of this Complaint as if fully restated herein.

        238.    K.S.A. 21-6313 and Policy 527 unconstitutionally proscribe expressive and

associative activity in violation of the First Amendment to the U.S. Constitution.

        239.    K.S.A. 21-6313 and Policy 527’s criteria for inclusion on the WPD Gang List

include expressive and associative activities protected by the First Amendment. Such activities

include, but are not limited to: contact with family members, friends, and others; residence in, or



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travel to, certain neighborhoods; participation in political, religious, and other social groups; and

display of colors and symbols on one’s person or clothing.

       240.      Inclusion on the WPD’s Gang List under K.S.A. 21-6313 and Policy 527 leads to

adverse criminal consequences and enhanced punishment. Such consequences include, but are not

limited, to: mandatory minimum bail for certain offenses, enhanced probation conditions and

intensive pre-trial monitoring, police surveillance, repeat detainment, questioning and arrest,

enhanced criminal charges and diminished plea offers, and prejudicial admission of Gang List

membership information in criminal proceedings leading to increased conviction and

incarceration.

       241.      Plaintiff Progeny Kansas and its members are and have been damaged by K.S.A.

21-6313 and Policy 527’s unconstitutional proscription of expressive and associative behaviors.

Progeny and its members are directly restricted from organizing, conducting, and attending

peaceable assemblies because doing so creates grounds for the WPD to add Progeny members and

event attendees to its Gang List and to harass, detain, search, and surveil them pursuant to K.S.A.

21-6313 and Policy 527. Moreover, under K.S.A. 21-6313 and Policy 527, attendance at such

peaceable assemblies subjects Progeny members to increased bail for person offenses, more

restrictive probation and parole restrictions, and enhanced criminal charges and consequences,

including the admission of highly prejudicial Gang List information as evidence in criminal

proceedings. Upon information and belief, Progeny members and clients have been added to the

WPD’s Gang List and subjected to these enhanced criminal consequences due to participation in

Progeny activities and/or contact with other Progeny members and clients.

       242.      Plaintiff Christopher Cooper has been damaged by K.S.A. 21-6313 and Policy

527’s unconstitutional proscription of expressive and associative behaviors. As a result of his



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unjustified inclusion on the WPD’s Gang List, Mr. Cooper was subjected to enhanced probation

conditions which forced him to move away from and cease contact with members of his family.

His inclusion on the Gang List under K.S.A. 21-6313 and Policy 527 meant that he was directly

proscribed from associating with his own family members, in violation of the First Amendment to

the United States Constitution.

       243.    Plaintiff Elbert Costello has been damaged by K.S.A. 21-6313 and Policy 527’s

unconstitutional proscription of expressive and associative behaviors. His unjustified “active”

gang member status was recently renewed for an additional three years based on a photograph of

him wearing a hat in support of the Philadelphia Phillies baseball team. In the past, Mr. Costello

has been renewed on the Gang List for constitutionally protected, non-criminal associations with

others on the WPD’s Gang List. As his more than 20 years on the WPD’s Gang List has shown,

inclusion on the Gang List subjects Mr. Costello to significant criminal consequences including

police harassment, arrest, unreasonable search, and surveillance. Moreover, should Mr. Costello

be arrested or charged with a person crime or other offense, he would be subject to increased bail,

restrictive probation or parole conditions, and the potential for his gang member status to be

introduced as highly prejudicial evidence in any criminal trial—consequences not faced by

individuals facing identical charges who are not on the WPD’s Gang List—because of how he

dressed and the people with whom he was photographed. Mr. Costello’s renewal on the WPD’s

Gang List for the expressive conduct of wearing a Philadelphia Phillies cap, and for the associative

conduct of non-criminal interactions with others on the WPD’s Gang List, violates the First

Amendment of the United States Constitution.

       244.    Plaintiff Martel Costello has been damaged by K.S.A. 21-6313 and Policy 527’s

unconstitutional proscription of expressive and associative behaviors. As a result of his unjustified



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inclusion on the WPD’s Gang List, Mr. Martel Costello was subjected to enhanced probation

conditions including prohibition on contacts with members of his family. Pursuant to these

conditions—a direct consequence of his inclusion on the Gang List—Mr. Martel Costello has been

arrested and incarcerated on two separate occasions specifically for being present at events with

other family members who are included on the WPD’s Gang List. Both events were non-criminal

in nature (K.S.A. 21-6313 and Policy 527 are indifferent to whether such contacts have any

criminal purpose) and both were commemorations of recent family deaths: Plaintiff Costello’s

niece in one instance, and his brother in the other. Mr. Martel Costello is currently incarcerated for

violating his probation prohibition on contacts with certain family members by being present at

his brother’s funeral. His inclusion on the Gang List under K.S.A. 21-6313 and Policy 527 meant

that he was directly proscribed from associating with his own family members—and arrested and

incarcerated for doing so—in violation of the First Amendment to the United States Constitution.

       245.    Plaintiff Jeremy Levy Jr. has been damaged by K.S.A. 21-6313 and Policy 527’s

unconstitutional proscription of expressive and associative behaviors. As a result of his unjustified

inclusion on the Gang List, Mr. Levy was subjected to increased punishment at his criminal trial

because of his association with other people on the Gang List who may or may not have been

involved in other, unrelated crimes. Moreover, once Mr. Levy is released on parole, he will be

subject to highly restrictive supervision conditions that will prevent him from associating with his

family and friends, in violation of the First Amendment.

       246.    These and other enhanced criminal consequences are carried out by state and local

law enforcement and corrections officers and constitute government action.

       247.    By attaching enhanced criminal consequences to constitutionally protected

activities, K.S.A. 21-6313 and Policy 527 directly and impermissibly prohibit and punish those



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activities with the force of state law and are invalid under the First Amendment to the U.S.

Constitution.

                         Count VII: Violation of First Amendment
          Right of Association and Expression (42 U.S.C. § 1983) – Chilling Effect
                              All Plaintiffs and Class Members

       248.     Plaintiffs incorporate each paragraph of this Complaint as if fully restated herein.

       249.     K.S.A. 21-6313 and Policy 527 unconstitutionally chill expressive and associative

activity among persons within the jurisdiction in which Defendants employ the Gang List in

violation of the First Amendment to the U.S. Constitution.

       250.     K.S.A. 21-6313 and Policy 527 unconstitutionally chill intimate associations

among private individuals including associations among family members, friends, school

classmates, co-workers, religious adherents, and others.

       251.     Plaintiffs avoid engaging in such activities as contact with family members, friends,

and others; residence in, or travel to, certain neighborhoods; participation in political, religious,

and other social groups; and display of colors and symbols on one’s person or clothing in order to

avoid being placed on the WPD’s Gang List.

       252.     K.S.A. 21-6313 and Policy 527 chill expressive associations among members of

non-gang social and political groups. Any member of any group (including political parties,

religious organizations, and civic and educational bodies) could be added to the Gang List due to

contacts with others in the group who are listed in the Gang List—whether or not that person has

in fact ever been connected with a gang.

       253.     Inclusion on the WPD’s Gang List under K.S.A. 21-6313 and Policy 527 causes

reputational harm, precipitating concrete injuries.




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       254.    Inclusion on the WPD’s Gang List leads to increased, extended and intensified

interactions with law enforcement. Designation as a gang member or associate leads to improper

police stops, detentions, interrogations, searches, surveillance, suspicion, and arrest.

       255.    Inclusion on the WPD’s Gang List leads to financial and physical harms including

denial and loss of employment, discrimination in housing, stigmatization and exclusion from social

groups, and harmed personal relationships.

       256.    As a result of K.S.A. 21-6313 and Policy 527’s unconstitutional restrictions,

Organizational Plaintiff Progeny has been chilled and discouraged from constitutionally protected

expressive and associative behaviors. Progeny and its members have refrained from organizing,

conducting, and attending peaceable assemblies where those included on the WPD’s Gang List are

likely to be present.

       257.    As a result of K.S.A. 21-6313 and Policy 527’s unconstitutional restrictions,

Plaintiff Christopher Cooper has been chilled and discouraged from constitutionally protected

expressive and associative behaviors. Mr. Cooper has refrained from associating with certain

family members and intimate friends for peaceful purposes due to fear that such association might

cause himself or others to be arrested, included or renewed on the WPD’s Gang List and subjected

to continued or increased police harassment or other criminal consequences.

       258.    As a result of K.S.A. 21-6313 and Policy 527’s unconstitutional restrictions,

Plaintiff Elbert Costello has been chilled and discouraged from constitutionally protected

expressive and associative behaviors. Mr. Costello has refrained from associating with certain

family members and intimate friends for peaceful purposes due to fear that such association might

cause himself or others to be included or renewed on the WPD’s Gang List and subjected to

continued or increased police harassment or other criminal consequences. He has refrained from



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certain non-criminal commercial interactions—including buying gas in his own neighborhood—

for fear that patronizing businesses in certain parts of town might cause himself or others to be

included on the WPD’s Gang List and subjected to continued or increased police harassment or

other criminal consequences. He has also refrained from the expressive conduct of taking or

posting photographs to social media for fear that some non-criminal and non-gang related clothing

or conduct will be used as grounds to renew his unjustified “active” gang member status. This fear

and restraint are well-founded, as he has repeatedly been renewed on the WPD’s Gang List and

subjected to police harassment and criminal consequences for precisely these types of non-

criminal, constitutionally protected associative and expressive actions.

       259.    As a result of K.S.A. 21-6313 and Policy 527’s unconstitutional restrictions,

Plaintiff Martel Costello has been chilled and discouraged from constitutionally protected

expressive and associative behaviors. Martel Costello has refrained from associating with certain

family members and intimate friends for peaceful purposes due to fear that such association might

cause himself or others to be arrested, included or renewed on the WPD’s Gang List and subjected

to continued or increased police harassment or other criminal consequences.

       260.    As a result of K.S.A. 21-6313 and Policy 527’s unconstitutional restrictions,

Plaintiff Jeremy Levy, Jr. has been chilled and discouraged from constitutionally protected

expressive and associative behaviors. Plaintiff Mr. Levy has refrained from associating with

certain family members and intimate friends for peaceful purposes due to fear that such association

might cause himself or others to be arrested, included or renewed on the WPD’s Gang List and

subjected to continued or increased police harassment or other criminal consequences.

       261.    The Federal Constitution protects Plaintiffs’ right to associate with others and to

express themselves. See U.S. Const. Amend. I.



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       262.      Defendants’ maintenance and use of the Gang List therefore unconstitutionally

chills Plaintiffs’ First Amendment rights to associate and express themselves.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs on behalf of themselves and the putative class they seek to

represent, request that this Court grant the following relief:

       a. Issue an Order certifying this case as a class action pursuant to Federal Rules of Civil

           Procedure 23(a) and(b)(2);

       b. Issue a class-wide judgment declaring that K.S.A. 21-6313, et seq., and the policies,

           practices, and conduct of Defendants, as described in this Complaint, constitute

           violations of the rights of Plaintiffs and the class they represent under the U.S.

           Constitution;

       c. Issue a Preliminary and Permanent Injunction preventing Defendants from maintaining

           the Gang List, implementing a Gang List or adding any individual to the Gang List in

           the future, and removing from the Gang List all individuals currently or in the past

           designated as Gang Members or Gang Associates, whether characterized as Active or

           Inactive;

       d. Award Plaintiffs reasonable attorneys’ fees and costs pursuant to 42 U.S.C. § 1988;

           and

       e. Allow such other and further relief as the Court deems just and proper.



DESIGNATION PLACE OF TRIAL

Plaintiffs designate Wichita, Kansas as the place of trial for this action.




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Dated this 15th day of April, 2021.

                                                   Respectfully submitted,

                                                   KANSAS APPLESEED CENTER FOR
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